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                                      FILE UNDER SEAL

                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

THE UNITED STATES OF AMERICA                     §
ex rel., YVONNE GARRY,                           §
                  Plaintiff,                     §
                                                 §
BRINGING THIS ACTION ON BEHALF                   §
OF THE UNITED STATES OF                          §
AMERICA                                          §
                                                 §
                                                 §
c/o    Hon. Ryan K. Patrick                      §
       United States Attorney                    §          CASE NO. 4:21-mc-397
       Southern District of Texas                §
       1000 Louisiana Street, Ste. 2300          §
       Houston, Texas 77702                      §
                                                 §
and    Hon. Monty Wilkinson                      §
       Acting Attorney General of the            §
       United States                             §
       United States Department of Justice       §
       950 Pennsylvania Avenue NW                §
       Washington, D.C. 20530-0001               §
                                                 §
-v-                                              §
                                                 §
FIRST CHOICE AMBULANCE                           §
SERVICES, INC.,                                  §
                Defendant.                       §



      PLAINTIFF THE UNITED STATES OF AMERICA EX REL., YVONNE GARRY’S
                            ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       NOW COMES The United States of America ex rel., Yvonne Garry (“United States” or

“Plaintiff”) and files this complaint against First Choice Ambulance Services, Inc. (“First Choice”
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or “Defendant”) for fraud in its handling of federal funding, and in support respectfully shows as

follows:

                                               I.
                                            PARTIES

1.     Yvonne Garry is the Relator in this qui tam action filed under the False Claims Act.

2.     Garry resides in Harris County, Texas.

3.     Garry worked for Defendant as a paramedic based out of Harris County, Texas.

4.     Pursuant to 31 U.S.C. § 3730(b)(1) this action is brought in the name of the United States

       and Garry.

5.     First Choice Ambulance Services, Inc. is the Defendant in this case.

6.     First Choice is a Texas corporation headquartered in Harris County, Texas.

                                         II.
                          FILING AND SERVICE REQUIREMENTS

7.     Pursuant to 31 U.S.C. § 3730(b)(2), this action has been filed under seal.

8.     This action shall remain under seal for at least sixty (60) days and will not be served on the

       Defendant until ordered to do so by this Court.

9.     The United States Attorney General and the United States Attorney for the Southern

       District of Texas will be served with a copy of this complaint.

10.    Relator will also transmit to the Department of Justice an attorney-client privileged

       “Relator’s Statement” and associated documents.

11.    Pursuant to the False Claims Act, Relator’s Statement contains written disclosure of

       substantially all material evidence and information the Relator possesses.




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                                            III.
                                 JURISDICTION AND VENUE

12.   This Court has subject matter jurisdiction because this case arises under a federal statute,

      namely the Federal False Claims Act, 31 U.S.C. § 3729, et seq.

13.   This Court has personal jurisdiction because First Choice can be found, resides in, and/or

      transacts business in Harris County, Texas, which is within this federal district.

      Furthermore, the actions giving rise to the false claim occurred in Harris County, Texas,

      which is within this federal district.

14.   Venue is appropriate because First Choice conducts a substantial part of all of its activities

      within Harris County, Texas.

                                                IV.
                                               FACTS

15.   On October 26, 2020, Yvonne Garry started working as a paramedic for First Choice

      Ambulance Services, Inc.

16.   First Choice provides private ambulance transportation to and from dialysis clinics,

      hospitals, nursing homes, residences, retirement centers, etc. in Harris County, Texas and

      surrounding counties.

17.   As the result of providing private ambulance transportation, First Choice receives funds

      from the Federal Government for patients who qualify for Medicare or Medicaid.

18.   While working for First Choice, Ms. Garry learned that First Choice was committing fraud

      against the Federal Government.

19.   Specifically, Ms. Garry learned that First Choice was purposefully reporting

      inaccurate/incomplete information to the Federal Government to get paid for claims that

      should not have been covered by Medicare or Medicaid.




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20.   First Choice purposefully manipulated information in Patient Care Report (PCR) narratives

      to make it look like ambulance transportation was medically necessary even if it was not.

21.   First Choice attempted to force Ms. Garry to exclude truthful information from her PCRs

      to make it look like ambulance transportation was medically necessary even if it was not.

22.   Specifically, on multiple occasions, including but not limited to the following, First Choice

      attempted to force Ms. Garry to remove any references to chairs (including wheelchairs

      and dialysis chairs) from her PCR narratives:

          a. Report No. 14047: QA Reviewer Misarenina Walker Kamar instructed me to

             “Please remove anything about a wheelchair out of your narrative.”

          b. Report No. 14095: QA Reviewer Misarenina Walker Kamar instructed me to

             “Remove anything about a wheelchair out of narrative.”

          c. Report No. 14436: QA Reviewer Erika Dunbar instructed me to “PLEASE

             REMOVE THAT YOU DIDNT [sic] ASSIST PATIENT, YOU ARE TO ASSIST

             WITH EVERY PATIENT.”

          d. Report No. 14613: QA Reviewer Erika Dunbar instructed me to “REMOVE

             DIALYSIS CHAIR.”

23.   Additionally, on December 18, 2020, Ms. Dunbar verbally instructed Ms. Garry to take

      any references to wheelchairs or chairs out of her reports because otherwise Medicare or

      Medicaid would not pay.

24.   Ms. Garry refused and informed Ms. Dunbar that it would be against the law.

25.   On either December 21 or 23, 2020, Ms. Kamar also instructed Ms. Garry to take any

      references to wheelchairs or chairs out of her reports.




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26.   Again, Ms. Garry refused as it would be considered falsifying information that is provided

      to the Federal Government.

27.   At that point, owner Carolyn Johnson joined the conversation and told Ms. Garry she just

      needed to listen to them and stop referencing wheelchairs or chairs because she, Ms.

      Johnson, needed to get paid.

28.   On January 6, 2021, Ms. Garry received a text message from Ms. Kamar again instructing

      her to “correct” the reports from 2020 ASAP.

29.   Again, Ms. Garry refused to do so and told her that it would be a violation of the Texas

      False Claims Act to alter a report for payment purposes.

30.   On January 8, 2021, Ms. Johnson called Ms. Garry into her office and asked what her

      problem was with altering her reports.

31.   Again, Ms. Garry advised Ms. Johnson that she would not alter her reports for payment

      purposes as it would jeopardize her paramedic certification and she could potentially face

      criminal liability.

32.   January 12, 2021 was the last day Ms. Garry worked for First Choice.

33.   On January 14, 2021, Ms. Johnson told Ms. Garry there was no more work for her for the

      rest of the week.

34.   On January 18, 2021, Ms. Johnson terminated Ms. Garry.

35.   Ms. Johnson told Ms. Garry she thought she was a great paramedic. However, Ms. Johnson

      could not use her because she could not submit her reports.

36.   Ms. Johnson said if she submitted Ms. Garry’s reports that Medicare/Medicaid would not

      pay.




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37.   Ms. Johnson also alleged she had some other minor issues with Ms. Garry like not

      answering her cell phone if she was driving and putting Ms. Johnson on speaker phone one

      time.

38.   However, it was very clear the reason Ms. Johnson was terminating Ms. Garry was because

      she refused to alter her reports.

39.   Later, Ms. Johnson told the Texas Workforce Commission in response to Ms. Garry’s

      application for unemployment benefits that Ms. Garry had quit/stopped showing up for

      work.

40.   The real reason First Choice terminated Ms. Garry was because she refused to engage in

      fraudulent activities against the Federal Government of the United States of America

                                          V.
                               CAUSE OF ACTION: QUI TAM

41.   As described above, First Choice knowingly presents, or causes to be presented, false or

      fraudulent claims for payment or approval.

42.   As described above, First Choice knowingly makes, uses, or causes to be made or used,

      false records or statement material to a false or fraudulent claim.

43.   As described above, First Choice conspires to knowingly present, or cause to be presented,

      false or fraudulent claims for payment or approval.

44.   As described above, First Choice conspires to knowingly make, use, or cause to be made

      or used, false records or statements material to false or fraudulent claims.

                                         VI.
                            CAUSE OF ACTION: RETALIATION

45.   As described above, First Choice retaliated against Relator when Relator refused to

      participate in First Choice’s fraud.




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46.    First Choice retaliated against Relator by cutting her hours and subsequently firing her.

47.    Because of First Choice’s actions, Relator has suffered damages within the jurisdictional

       limits of this Court.

                                              VII.
                                            DAMAGES

48.    Relator seeks treble actual damages suffered by the United States.

49.    Relator seeks a civil penalty of not less than $5,000 nor more than $10,000, upwardly

       adjusted for inflation, for each false statement made or claim submitted.

50.    Relator seeks all costs incurred in recovering damages or penalties.

51.    Relator seeks attorney fees.

52.    Relator seeks pre and post judgment interest at the maximum rate allowed by law.

53.    Relator seeks an award of a percentage of the damages recovered, at the maximum

       percentage allowed by law.

       WHEREFORE, premises considered, Relator respectfully prays that upon a trial on the

merits that damages be awarded in the amount sought herein and for such other and further relief

to which she is justly entitled whether at law or in equity.




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                                          Respectfully submitted,

                                          /s/ Julie L. St. John
                                          Julie L. St. John (Attorney-in-Charge)
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                                          S.D. Texas Bar No. 3139258
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             SEPARATELY SIGNED CERTIFICATE OF INTERESTED PARTIES

I believe the following parties to have an interest in this matter:

   1.      Yvonne Garry, 10000 Fannin Street, Apt. 308, Houston, Texas 77045.

   2.      Wiley Wheeler, P.C., 1651 Richmond Ave, Houston, Texas 77006, and attorneys

           Robert J. Wiley and Julie L. St. John.

   3.      The United States of America, Monty Wilkinson, Acting Attorney General.

   4.      First Choice Ambulance Services, Inc., 2646 S. Loop West, Ste. 320, Houston, Texas

           77054.



                                                       /s/ Julie St. John
                                                       Julie St. John




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